                       Case 3:13-cr-00866-PAD Document 87 Filed 05/19/22 Page 1 of 3
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                      DistrictDistrict
                                 __________   of Puertoof Rico
                                                          __________
                                                )
          UNITED STATES OF AMERICA              ) JUDGMENT IN A CRIMINAL CASE
                      v.                        ) (For Revocation of Probation or Supervised Release)
                                                )
                                                )
         STEVEN MICHAEL RODRIGUEZ (1)
                                                ) Case No. 3:13-CR-00866-1 (PAD)
                                                ) USM No. 44515-069
                                                )
                                                ) Laura Maldonado-Rodriguez, Esq.
                                                                                               Defendant’s Attorney
THE DEFENDANT:
✔ admitted guilt to violation of condition(s)
G                                                        (See below)                  of the term of supervision.
G was found in violation of condition(s) count(s)                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                            Violation Ended
Mandatory Condition             The defendant shall not commit another federal, state or local crime.       01/23/2020

Mandatory Condition             The defendant shall not unlawfully possess a controlled substance.          01/23/2020




       The defendant is sentenced as provided in pages 2 through          3       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                            and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.:                                                      5/19/2022
                                                                                          Date of Imposition of Judgment
Defendant’s Year of Birth:
                                                                                      s/ Pedro A. Delgado-Hernandez
City and State of Defendant’s Residence:                                                         Signature of Judge

                                                                              Pedro A. Delgado-Hernandez, U.S. District Judge
                                                                                               Name and Title of Judge

                                                                                                     5/19/2022
                                                                                                        Date
                       Case 3:13-cr-00866-PAD Document 87 Filed 05/19/22 Page 2 of 3
AO 245D (Rev. 09/19)    Judgment in a Criminal Case for Revocations
                        Sheet 2— Imprisonment
                                                                                                   Judgment — Page   2       of   3
DEFENDANT: STEVEN MICHAEL RODRIGUEZ (1)
CASE NUMBER: 3:13-CR-00866-1 (PAD)


                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
Twelve (12) months, to be served consecutively to the term of imprisonment imposed in Crim. No. 22-065-1 (PAD).




     ✔ The court makes the following recommendations to the Bureau of Prisons:
     G
That defendant be allowed to serve his term of imprisonment at FCC Miami; that defendant be allowed to enroll in a GED completion
program; that defendant be allowed to enroll in an intensive drug therapy/treatment program; that defendant be allowed to enroll in
an English as second language course; that defendant be allowed to enroll in a culinary arts or barbering training program.


     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
         G    at                                  G a.m.         G p.m.       on                                         .
         G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G    before 2 p.m. on                                            .
         G    as notified by the United States Marshal.
         G    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                         to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                          By
                                                                                             DEPUTY UNITED STATES MARSHAL
                       Case 3:13-cr-00866-PAD Document 87 Filed 05/19/22 Page 3 of 3
AO 245D (Rev. 09/19)    Judgment in a Criminal Case for Revocations
                        Sheet 3 — Supervised Release
                                                                                                 Judgment—Page     3     of       3
DEFENDANT: STEVEN MICHAEL RODRIGUEZ (1)
CASE NUMBER: 3:13-CR-00866-1 (PAD)
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 Four (4) years, to be served concurrently with the term of supervised release imposed in Crim. No. 22-065-1 (PAD),
 under the same conditions of release originally imposed at sentencing.




                                                   MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.     G You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     ✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
       G
6.     G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
